       Case 8:24-cv-01205-ABA           Document 42       Filed 10/23/24     Page 1 of 1




                                 Richard B. Rosenthal, Esq

                                         Filed via ECF


October 23, 2024

Honorable Adam B. Abelson
United States District Judge

Re: Case Number 8:24CV1205-ABA

Your Honor:

I was out last week due to a death in the family and the Jewish holidays, and therefore missed the
Court’s deadline to respond to Document 39-1 – the Proposed Scheduling Order, which was due
Friday, October 18, 2024. I apologize to the Court.

I met and conferred on Monday and today with opposing counsel, Henry T. Carkhuff regarding
the proposed scheduling order. Both parties are fine with the court’s proposed deadlines. Both
parties will consent to an ADR conference. We expect two hours for each of the Defendants’
depositions, and the Defendants expect to need two hours for their depositions. Both sides
consent to proceed before a Magistrate.

The parties request that the Court accept this Response Nunc Pro Tunc to Friday, October 18,
2024.

Respectfully submitted,

/s/ Richard Rosenthal




Cc: Defendants’ counsels through ECF




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